Case 1:25-cv-00059-H         Document 68        Filed 05/13/25       Page 1 of 3     PageID 600



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS


  W.M.M., et al., on their own behalf and on behalf
  of all others similarly situated,

  Petitioners–Plaintiffs,
                                                             Case No. 1:25-cv-59-H
  v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States, et al.,

  Respondents–Defendants.



            PETITIONERS-PLAINTIFFS’ MOTION TO RECONSIDER OR,
          IN THE ALTERNATIVE, CERTIFY A CLASS UNDER RULE 23(c)(4)

       TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that Petitioners-Plaintiffs (“Petitioners”) hereby move the

Court to reconsider its May 9, 2025 order denying Petitioners’ Amended Motion for Class

Certification. ECF No. 67. In the alternative, Petitioners move the Court for an order certifying a

class as to the issues that are common to the class pursuant to Federal Rule of Civil Procedure

23(c)(4). Reconsideration and certification are warranted for the reasons given in the attached

Memorandum.


 Dated: May 13, 2025                                  Respectfully submitted,
                                                      /s/Lee Gelernt
 Noelle Smith*                                        Lee Gelernt
 Oscar Sarabia Roman*                                 Daniel Galindo
 My Khanh Ngo                                         Ashley Gorski*
 Cody Wofsy*                                          Patrick Toomey*
 Spencer Amdur*                                       Sidra Mahfooz*
 AMERICAN CIVIL LIBERTIES UNION                       Omar Jadwat*
 FOUNDATION                                           Hina Shamsi*
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Case 1:25-cv-00059-H   Document 68   Filed 05/13/25     Page 2 of 3      PageID 601



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                                     2
Case 1:25-cv-00059-H        Document 68       Filed 05/13/25      Page 3 of 3      PageID 602



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2025, a true and correct copy of the foregoing document

was electronically filed via the Court’s CM/ECF system which sends notice of electronic filing

to all counsel of record.

 Dated: May 13, 2025                                Respectfully submitted,
                                                    /s/Lee Gelernt
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